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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

JUAN VILLANUEVA                               §
                                              §
                                              §       CIVIL ACTION NO. _________
VS.                                           §
                                              §       JURY DEMANDED
ALLSTATE TEXAS LLOYDS                         §

                                    NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW ALLSTATE TEXAS LLOYDS, and pursuant to Rule 15, Federal Rules of

Civil Procedure, and 28 U.S.C. Sections 1441 and 1332, files this its Notice of Removal and in

connection therewith would respectfully show the Court the following:

                                                I.
                                           BACKGROUND

       Petitioner is the Defendant in a civil action now pending in the 139th District Court, Hidalgo

County, Texas, Cause Number C-0802-15-C styled Juan Villanueva v. Allstate Texas Lloyds,

wherein Plaintiff seeks monetary relief for property damage, asserting claims for negligence, breach

of contract and alleged violations of the Texas Insurance Code, Deceptive Trade Practices Act

(DTPA), and Unfair Insurance Practices as well as claims for fraud, misrepresentation and breach of

the duty of good faith and fair dealing.

                                            II.
                                    BASIS FOR REMOVAL

       The district courts of the United States have original jurisdiction over this action based on

diversity of citizenship among the parties, in that the Defendant is diverse in citizenship from the

Plaintiff. Defendant Allstate Texas Lloyds is not a citizen of the State of Texas.
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                                            III.
                                 DIVERSITY IN CITIZENSHIP

       The Plaintiff, Juan Villanueva, is domiciled in Hidalgo County, in the State of Texas, and

was domiciled there at the time this action was commenced. Plaintiff was at that time and is now a

citizen of the State of Texas.

       Allstate Texas Lloyds, the Defendant, is a Lloyds plan, an entity engaged in the business of

writing insurance on the Lloyds plan. The Lloyds plan is an unincorporated association, which is

considered to have the citizenship of its members, the underwriters. Allstate Texas Lloyds was, and

at the date of this Notice, remains, an association of underwriters whose individual underwriters are

all residents and citizens of the States of Illinois and New Jersey1. The United States Supreme Court

has consistently held for over one hundred years that the “citizenship of an unincorporated

association [such as Allstate] is determined . . . solely by the citizenship of its members.” See

Massey v. State Farm Lloyds Ins. Co. 993 F. Supp. 568, 570 (S.D. Tex. 1998); see also Gore v.

Stenson, 616 F. Supp. 895, 898-899 (S.D. Tex. 1984) The underwriters for Allstate Texas Lloyds,

all reside outside the State of Texas and have continuously resided outside the State of Texas from

January 1, 2009 to the present. Accordingly, diversity of citizenship exists among the parties.

                                           IV.
                                 AMOUNT IN CONTROVERSY

       The amount in controversy in this action exceeds, exclusive of interests and costs, the sum of

Seventy-Five Thousand Dollars ($75,000.00). No amount of damages is specified in Plaintiff’s

Original Petition. As further evidence of amount in controversy, Defendant would show that the

applicable policy provides dwelling limits of $154,274.00, other structures limits of $15,427.00, and

contents coverage of $83,964.00. See declarations page attached as Exhibit A. In addition to policy

benefits, Plaintiff seeks statutory penalties, extra-contractual damages, exemplary damages and
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attorney’s fees. Finally, prior to litigation, Plaintiff submitted a demand seeking $109,000.00 See

Exhibit B. Accordingly, considering Plaintiff’s pleadings, policy limits and the damages Plaintiff

would be entitled to, should he prevail, the amount in controversy exceeds Seventy-Five Thousand

Dollars ($75,000.00).

                                                           V.

           Removal of this action is proper under 28 U.S.C. §1441, since it is a civil action brought in a

state court, and the federal district courts have original jurisdiction over the subject matter under 28

U.S.C. §1332 because the Plaintiff and Defendant are diverse in citizenship and the amount in

controversy exceeds $75,000.00.

                                                          VI.

           This notice of removal is being filed within thirty (30) days after receipt by Petitioner of

Plaintiff’s Original Petition, which was the first notice to Defendant of this lawsuit. This removal is

filed under 28 U.S.C. Section 1446(b).

                                                          VII.

           Petitioner’s time to answer or remove with respect to the Plaintiff’s Original Petition has not

expired. Plaintiff’s Original Petition was served on the Defendant on March 6, 2015.

                                                         VIII.

           This action is one over which this Court has original jurisdiction under the provisions of 28

U.S.C. Section 1331 and this action may be removed to this Court by Petitioner, pursuant to the

provisions of 28 U.S.C. Section 1441. Copies of all pleadings including the docket sheet on file with

the State Court are attached hereto.

           WHEREFORE, ALLSTATE TEXAS LLOYDS, Defendant in this action, pursuant to these

statutes and in conformance with the requirements set forth in 28 U.S.C. §1446, removes this action

1
    An Affidavit regarding the citizenship of the underwriters will be supplemented.
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for trial from the 139th District Court, Hidalgo County, Texas to this Court, on this 2nd day of April,

2015.

                                                       Respectfully submitted,

                                                       BY:      /s/ Rosemary Conrad-Sandoval
                                                       Rosemary Conrad-Sandoval
                                                       Attorney-in-charge
                                                       State Bar #04709300
                                                       Federal ID #13738
                                                       Jeffrey D. Roerig
                                                       State Bar #17161700
                                                       Federal ID #1503

                                                       Of Counsel
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                                                       ATTORNEYS FOR DEFENDANT
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                                          CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and correct copy of the foregoing Notice of

Removal has been mailed, Certified Mail, Return Receipt Requested, to the Attorney for Plaintiff, as

follows:


                                                 Mr. Scott Hunziker
                                                 Mr. Bryan Beverly
                                            THE VOSS LAW FIRM, P.C.
                                              26619 Interstate 45 South
                                             The Woodlands, TX 77380

on this 2nd day of April, 2015.


                                                                      /s/ Rosemary Conrad-Sandoval
                                                                     ROSEMARY CONRAD-SANDOVAL




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